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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                        *    CRIMINAL NO. 13–0259-01


 VERSUS                                          *    JUDGE ROBERT G. JAMES


 CHARLES WENDELL ALFORD                          *    MAG. JUDGE KAREN L. HAYES

                                     JUDGMENT

        The Report and Recommendation of the Magistrate Judge, having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the Defendant, Charles Wendell Alford, and adjudges him guilty of the

offense charged in Count One of the Bill of Information against him.

        MONROE, LOUISIANA, this 25th day of November, 2013.
